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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


                                                              )
CONTESSA BROWN                                                )
         Plaintiff,                                           )
                                                              )
v.                                                            ) Civil Action No.
                                                              )
COMENITY BANK                                                 )
         Defendant,                                           )
                                                              )


                                         INTRODUCTION


1. This is an action for actual and statutory damages brought by plaintiff Contessa Brown, an
individual consumer, against Defendant’s violations of the law, including, but not limited to,
violations of Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (hereinafter “TCPA”),
and also out of the invasions of Plaintiff’s personal privacy by these Defendants and their agents
in their illegal efforts in engaging in harassing and unconsented phone calls to Plaintiff’s cell
phone.
                                             PARTIES


2. Plaintiff Contessa Brown (hereinafter “Plaintiff”) is a consumer, a natural person allegedly
obligated to pay any debt, and a citizen of the United States of America who presently resides in
the following County, in the following state: Providence County, in the state of Rhode Island.


3. Defendant, Comenity Bank (hereinafter “Defendant”) is a foreign company, with its principal
place of business located in New Castle County, in the state of Delaware. It is engaged in the
business of banking.



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4. At all times relevant hereto, while conducting business in Rhode Island, Defendant has been
subject to, and required to abide by, the laws of the United States and the State of Rhode Island,
which include the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq., and
its related regulations that are set forth at 47 C.F.R. § 64.1200 (the “TCPA Regulations), as well
as the opinions, regulations and order issued by courts and the Federal Communication
Commission (“FCC”) implementing, interpreting and enforcing the TCPA and the TCPA
Regulations.


5. At all relevant times, Defendant acted through its duly authorized agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers.
                                         JURISDICTION
Jurisdiction is asserted pursuant to the following statutory authorities:


6. Jurisdiction of this court arises under 47 U.S.C. § 227 et seq., and 28 U.S.C. §§ 1331 and
1337. It also arises under 28 U.S.C. § 1367 for supplemental state claims.


7. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of
the events or omissions giving rise to the claim occurred here. Because Defendant transacts
business here, personal jurisdiction is established.


                                  FACTUAL ALLEGATIONS


Case background:
8. Herein, whenever Plaintiff Contessa Brown alleges that Defendant either acted or failed to act
in some manner, it means that Plaintiff alleges that Defendant acted through one or more of its
authorized employees, representatives and/or agents.


9. Within one year prior to the filing of this complaint, Defendant placed harassing calls to
Plaintiff’s cellular telephone number, through the usage of an auto-dialer, believably for the
purpose of collecting a consumer debt from her; though she had had already told Defendant to

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cease calling her. One of the continued unconsented calls occurred during late February of 2014.
Plaintiff is a ‘person’ as defined by 47 U.S.C. § 153(10).


10. Defendant called Plaintiff using an automatic telephone dialing system (hereinafter “auto-
dialer”) as defined under 47 U.S.C. § 227 (a)(1)(A)and(B) on numerous occasions, without her
express consent, as she had already told it to cease calling her cell phone.


11. Defendant knowingly and/or willfully acted in the manner described above without
Plaintiff’s invitation or permission, as Plaintiff had told it to stop calling her, yet Defendant
continued to call her.


12. These telephone calls made by Defendant to Plaintiff were not for emergency purposes, yet
Defendant continued to call for Plaintiff despite her having told Defendant to stop calling her cell
phone utilizing its automated telephone dialing machine.


13. As a result of the acts alleged above, Plaintiff suffered actual damages in the form of
emotional distress resulting in her feeling frustrated, amongst other negative emotions.


14. Defendant’s illegal and abusive conduct as more fully described above were the direct and
proximate cause of emotional distress on the part of Plaintiff, and was in violation of the TCPA,
namely including, but not limited to, 47 U.S.C. §§ 227 et seq.


                                  FIRST CLAIM FOR RELIEF
                         AND SUPPORTING FACTUAL ALLEGATIONS


15. Plaintiff Contessa Brown repeats, realleges, and incorporates by reference all of the above
paragraphs of this Complaint as though fully stated herein.


16. The foregoing acts and omissions of Defendant and its agents constitute numerous and
multiple violations of the TCPA including each and every one of the provisions of the TCPA, 47
U.S.C. § 227 et seq. with respect to Plaintiff.

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17. As a result of the foregoing violations of the TCPA, Defendant is liable to Plaintiff, for actual
damages pursuant to 47 U.S.C. § 227, statutory damages in an amount up to $500.00 for each
violation of the TCPA pursuant to 47 U.S.C. § 227, treble damages pursuant to 47 U.S.C. § 227,
and reasonable costs and attorney fees pursuant to 47 U.S.C. § 227, from Defendant herein.


                                SECOND CLAIM FOR RELIEF
                      AND SUPPORTING FACTUAL ALLEGATIONS


Q18. Plaintiff Contessa Brown repeats, realleges, and incorporates by reference all of the above
paragraphs of this Complaint as though fully stated herein.


19. Congress explicitly recognized a consumer’s inherent right to privacy in collection matters in
passing the Telephone Consumer Protection Act, when it stated as part of its findings:
               In implementing the requirements of this subsection, the Commission may, by
               rule or order, exempt from the requirements of paragraph (1)(B) of this
               subsection, subject to such conditions as the Commission may prescribe such
               classes or categories of calls made for commercial purposes as the Commission
               determines will not adversely affect the privacy rights that this section is
               intended to protect[.]


47 U.S.C. § 227(2)(B)(ii)(I) (emphasis added).


20. In enacting the TCPA, Congress sought to protect the privacy interests of telephone
subscribers and consumers, such as Plaintiff, and to place restrictions on unconsented telephone
calls, made both with and without the usage of an automatic telephone dialing machine, that are
not for emergency purposes and that are placed to individuals’ cell phones for commercial
purposes, by imposing obligations upon companies, such as Defendant, to not continue to place
any calls to a consumer, who it does not have the express consent to call and/or who has told a
company such as Defendant not to call and/or that such calls would inconvenience the consumer
and/or are prohibited, in violation of FCC regulations.

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21. Congress further recognized a consumer’s right to privacy in financial data in passing the
Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for a broad
range of “financial institutions” including companies that try to collect on debts, albeit without a
private right of action, when it stated as part of its purposes:


        It is the policy of the Congress that each financial institution has an affirmative
        and continuing obligation to respect the privacy of its customers and to protect the
        security and confidentiality of those customers’ nonpublic personal information.


15 U.S.C. § 6801(a) (emphasis added).


22. Defendant and/or its agents intentionally and/or negligently interfered, physically or
otherwise, with the solitude, seclusion and/or private concerns or affairs of Plaintiff, namely, by
unlawfully continuing to attempt to contact Plaintiff, and thereby invaded Plaintiff’s privacy.


23. Defendant also intentionally and/or negligently interfered, physically or otherwise, with the
solitude, seclusion and/or private concerns or affairs of the Plaintiff, namely, by unlawfully
continuing to contact her on her cell phone without invitation and/or her express consent, or it
being for emergency purposes, after she gave it reason to know this would be unacceptable or
that such conduct would harass and/or annoy her, and thereby invaded Plaintiff’s right to
privacy.


24. Defendant and/or its agents intentionally and/or negligently caused emotional harm to
Plaintiff by engaging in highly offensive conduct in the course of trying to contact Plaintiff,
which amounted to conduct to intentionally and maliciously harass, inconvenience, bother,
frustrate, agitate, aggravate, and annoy Plaintiff, thereby invading and intruding upon Plaintiff’s
right to privacy.




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25. Upon information and belief, Defendant and its agents had knowledge of the TCPA and
what is lawful action under that federal statute prior to calling Plaintiff, yet they continued to
contact her in an illegal manner.


26. Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, private
concerns and affairs.


27. The conduct of this Defendant and its agents, in engaging in the above-described illegal
conduct against Plaintiff, resulted in an intrusion and invasion of privacy by this Defendant
which occurred in a way that would be highly offensive to a reasonable person in that position.


28. All acts of Defendant and the employees complained of herein were committed with malice,
intent and/or negligence, wantonness, and recklessness, and as such, Defendant is subject to
imposition of punitive damages.


29. As a result of such an intrusion and invasion of privacy, Defendant is liable to Plaintiff for
actual damages in an amount to be determined at trial from Defendant.


                                    REQUEST FOR RELIEF


WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for
the following:


A. Actual damages from Defendant pursuant to 47 U.S.C. § 227 et seq. for the emotional
distress suffered as a result of the intentional and/or negligent TCPA violations, and the invasion
of Plaintiff’s privacy by intrusion upon seclusion; in amounts to be determined at trial and for
Plaintiff.
B. Trebled statutory damages from Defendant pursuant to 47 U.S.C. § 227 et seq.
C. Punitive damages.
D. For such other and further relief as the Court may deem just and proper.



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PLAINTIFF DEMANDS A TRIAL BY JURY. US Const. amend. 7. Fed.R.Civ.P. 38.




Dated: September 13, 2014                 RESPECTFULLY SUBMITTED,
                                          Attorney for Plaintiff,




                                          /s/ Elizabeth W. Shealy
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                                          Cranston, Rhode Island 02910
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